                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )                 8:21CR264
                                            )
      vs.                                   )
                                            )
ALFREDO ESCOBAR,                            )                   ORDER
                                            )
                    Defendant.              )


        This matter is before the court on the defendant’s Unopposed Motion to Continue
Trial [22]. Counsel needs additional time to resolve the matter short of trial. For good
cause shown,

       IT IS ORDERED that the Unopposed Motion to Continue Trial [22] is granted, as
follows:

      1. The jury trial, now set for April 19, 2022, is continued to July 5, 2022.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests
         of the public and the defendant in a speedy trial. Any additional time arising as
         a result of the granting of this motion, that is, the time between today’s date
         and July 5, 2022, shall be deemed excludable time in any computation of time
         under the requirement of the Speedy Trial Act. Failure to grant a continuance
         would deny counsel the reasonable time necessary for effective preparation,
         taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) &
         (B)(iv).


      DATED: April 8, 2022

                                                BY THE COURT:


                                                s/ Susan M. Bazis
                                                United States Magistrate Judge
